Case 2:23-cv-00071-TRM-JEM Document 194-3 Filed 05/18/24 Page 1 of 8 PageID #:
                                   4141
Case 2:23-cv-00071-TRM-JEM Document 194-3 Filed 05/18/24 Page 2 of 8 PageID #:
                                   4142
Case 2:23-cv-00071-TRM-JEM Document 194-3 Filed 05/18/24 Page 3 of 8 PageID #:
                                   4143
Case 2:23-cv-00071-TRM-JEM Document 194-3 Filed 05/18/24 Page 4 of 8 PageID #:
                                   4144                      CONFIDENTIAL
Case 2:23-cv-00071-TRM-JEM Document 194-3 Filed 05/18/24 Page 5 of 8 PageID #:
                                   4145                      CONFIDENTIAL
Case 2:23-cv-00071-TRM-JEM Document 194-3 Filed 05/18/24 Page 6 of 8 PageID #:
                                   4146                      CONFIDENTIAL
Case 2:23-cv-00071-TRM-JEM Document 194-3 Filed 05/18/24 Page 7 of 8 PageID #:
                                   4147                      CONFIDENTIAL
Case 2:23-cv-00071-TRM-JEM Document 194-3 Filed 05/18/24 Page 8 of 8 PageID #:
                                   4148                      CONFIDENTIAL
